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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 KENDALL HEALTHCARE
 GROUP, LTD., et al.

        Plaintiﬀs,

 v.                                                 Case No: 8:24-cv-0785-KKM-CPT

 1199SEIU, UNITED HEALTHCARE
 WORKERS EAST, FLORIDA REGION,

        Defendant.

 ___________________________________

                                           ORDER

        Plaintiﬀ hospitals move for reconsideration of this Court’s order staying Count II

 of the Complaint pending resolution of a related union-initiated arbitration. Mot. for

 Recons. (MFR) (Doc. 44); Stay Order (Doc. 42). For the reasons below, that motion is

 denied.

        A district court may reexamine and revise any interlocutory order up until the entry

 of judgment. See FED. R. CIV. P. 54(b). Usually, though, “district courts should hesitate

 before revisiting their earlier interlocutory orders; important interests of ﬁnality, stability,

 and predictability underly that justiﬁable caution.” Hornady v. Outokumpu Stainless USA,

 LLC, 118 F.4th 1367, 1380 (11th Cir. 2024). Resolution of a motion for reconsideration is

 thus a matter vested in the district court’s discretion. Id. at 1381. A district court should
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 readily grant a motion for reconsideration if that motion meets the higher standards for

 relief from judgment laid out in Federal Rules of Civil Procedure 59(e) and 60(b), while it

 may typically reject a motion “that simply rehash[es] arguments already considered and

 rejected.” Id.

        e hospitals seek relief from the Stay Order for two reasons. First, they argue that

 that the Order conﬂicts with the Eleventh Circuit’s precedential decision in Jim Walter

 Resources, Inc. v. United Mine Workers of America, 663 F.3d 1322 (11th Cir. 2011). MFR

 at 5–16. Second, they contend that the Stay Order “extinguished their ability to pursue

 their section 301 claim.” MFR at 17–18 (cleaned up). Neither argument justiﬁes vacatur or

 revision of the Stay Order.

        To start, the Stay Order does not conﬂict with Jim Walter. In that case, the Eleventh

 Circuit held that it was error to compel an employer to arbitrate based on aspirational

 contract language where “the employee[-]oriented grievance machinery in the parties’

 contract qualiﬁes and limits the universe of claims and grievances subject to arbitration,

 and the language negates the intention that the employer’s claim for damages must be

 submitted to arbitration.” Jim Walter, 663 F.3d at 1328. In the hospitals’ view, if “district

 courts cannot compel . . . arbitration [of ] an employer’s claim for damages against [a]

 union,” when the parties’ collective bargaining agreement includes an employee-centric

 grievance regime, “then litigation brought by a plaintiﬀ-employer cannot be stayed for the

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 [u]nion to seek arbitration on its own claims.” MFR at 2 (emphasis omitted). at

 conclusion does not follow.

         e hospitals fail to attend carefully to the diﬀerence between claims and issues. Jim

 Walter held only that a district court could not compel an employer to arbitrate a claim

 that was not arbitrable under the parties’ collective bargaining agreement. 663 F.3d at 1328.

 e Stay Order dealt with the distinct question of whether a district court must stay an

 action when a non-arbitrable claim properly before the court implicates an arbitrable issue

 and the party entitled to arbitrate the issue seeks to do so. Stay Order at 7–10. 1 Under those

 circumstances, the Federal Arbitration Act requires that the district court stay the action

 pending the arbitration, as its stay provision operates at the level of the issue, not the claim.

 See 9 U.S.C. § 3; see also Burch v. P.J. Cheese, Inc., 861 F.3d 1338, 1345 (11th Cir. 2017)

 (“9 U.S.C. § 3 directs courts to stay their proceedings in any case raising a dispute on an

 issue referable to arbitration.”); Reinhart v. Asset Managing Grp., Inc, No. 3:16-CV-439-

 J-39MCR, 2016 WL 11530541, at *3 (M.D. Fla. Nov. 21, 2016) (“[T]he FAA ‘provides



 1
  Contra the hospitals, it was thus necessary to determine whether the union’s grievances were arbitrable to
 adjudicate the union’s motion for a stay. See MTS at 3 n.1 (contending that “the Court should not have
 ruled on whether or not the [u]nion’s grievances were arbitrable”). And the hospitals’ view that I should
 have considered only their complaint in adjudicating the union’s grievances’ arbitrability would eviscerate
 § 3. Id. Were that true, a defendant could seek a stay to which he was legally entitled only if he were so
 fortunate as to have his adversary plead the existence of a separate, possibly conﬂicting arbitral proceeding.
 at is not the law. See Blalock v. Dillard’s Dep’t Stores, Inc., No. 604CV1464ORL19JGG, 2005 WL
 8159917, at *4 (M.D. Fla. Jan. 20, 2005) (denying without prejudice a motion to stay proceedings and
 compel arbitration in the absence of evidence that the plaintiﬀ had notice of an arbitration program); cf.
 Comer v. City of Palm Bay, 265 F.3d 1186, 1191 (11th Cir. 2001) (per curiam).
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 for stays of proceedings in federal district courts when an issue in the proceeding is referable

 to arbitration,’ i.e., ‘any issue referable to arbitration,’ ” not necessarily when all issues are

 referable to arbitration.” (citations omitted) (ﬁrst quoting Gilmer v. Interstate/Johnson

 Lane Corp., 500 U.S. 20, 25 (1991), then quoting 9 U.S.C. § 3)), report and

 recommendation adopted sub nom. Reinhart v. Asset Mgmt. Grp., Inc., No. 3:16-CV-439-

 J-39MCR, 2017 WL 10651308 (M.D. Fla. Jan. 26, 2017).

        As explained in the Stay Order, both Count II of the hospitals’ complaint and the

 union’s grievances implicate the same core issue—whether the hospitals were entitled to

 seek ﬁrst-party indemniﬁcation from the union. Compare Stay Order at 8 (“e union ﬁled

 a grievance that the hospitals ‘wrongfully seek[] indemniﬁcation for expenses and attorneys’

 fees incurred in defending against the union’s enforcement of dues deductions required

 under Article 46’ in breach of Article 46, § 5.” (alteration in the original) (quoting (Doc.

 16-2) at 1)), with id. (Count II seeks damages because “[t]he Union has refused to

 indemnify and hold harmless the Hospitals for their defense of the Union’s agency charges

 relating to [Article 46] of the CBAs.” (alterations in the original) (quoting Compl. (Doc.

 1) ¶ 53.)). Because the hospital’s claim involves a dispute about an issue referrable to

 arbitration, a stay pending resolution of the arbitration on that issue was, and remains,

 proper.




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         As for the hospital’s argument that the Stay Order “has left the [h]ospitals in limbo

 and eﬀectively unable to pursue its claims for the [u]nion’s breach of the indemnity

 provision in any forum,” MFR at 17, that is true enough. Stays often put prosecution of a

 party’s claims on pause. But the hospitals are free to litigate the issue central to their

 claim—whether they are entitled to ﬁrst-party indemniﬁcation under Article 46, § 5—in

 the arbitration. If the hospitals prevail on that issue, they may move to lift the stay and seek

 adjudication of any remaining issues in this action. See Resp. (Doc. 52) at 8 (conceding that

 the hospitals can pursue their claim in this action if they prevail in the arbitration); see also

 It Works Mktg., Inc. v. Melaleuca, Inc., No. 8:20-CV-1743-KKM-TGW, 2022 WL

 22865423, at *5 (M.D. Fla. Jan. 20, 2022) (“Where an arbitration decision ‘aﬀords basic

 elements of adjudicatory procedure, such as an opportunity for presentation of evidence,

 the determination of issues in an arbitration proceeding should generally be treated as

 conclusive in subsequent proceedings, just as determinations of a court would be treated’ ”

 (quoting Greenblatt v. Drexel Burnham Lambert, Inc., 763 F.2d 1352, 1360 (11th Cir.

 1985))). Nothing in the Stay Order prevents the hospitals from having their claim

 ultimately adjudicated. 2




 2
  ough not relevant to their argument here, the hospitals opine—without citation—that the Stay Order
 “denied the [u]nion’s substantive motion to dismiss Count II on the merits, recognizing that the [h]ospitals
 have a valid claim for indemnity against the [u]nion.” MFR at 2. Nothing in the Stay Order implies that
 the Court concluded that Count II stated a claim for relief.
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       Accordingly, the following is ORDERED:

       1.    e hospitals’ Motion for Reconsideration (Doc. 44) is DENIED.

       2.    e hospitals’ Motion for Leave to File Reply (Doc. 55) is DENIED AS

             MOOT.

       ORDERED in Tampa, Florida, on February 18, 2025.




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